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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

KEVIN R. BIGGERS                                              PLAINTIFF
ADC #155966

v.                        No. 3:20-cv-234-DPM

BRIAN BUCHANAN, Patrolman,
Cherokee Village Police Department                         DEFENDANT

                                ORDER
     Biggers’s mail is being returned undelivered. Doc. 10. He must
update his address with the Clerk by 20 November 2020. If he doesn’t,
then the Court will dismiss his complaint without prejudice. LOCAL
RULE 5.5(c)(2).
     So Ordered.
                                  __________________________
                                  D.P. Marshall Jr.
                                  United States District Judge

                                    20 October 2020
